JS 44 (Rev. 10/20)                 Case 2:21-cv-04771-CMR
                                                     CIVILDocument
                                                          COVER 1SHEET
                                                                   Filed 10/29/21 Page 1 of 24
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          M.B.                                                                                             Spirit Airlines, Inc and John Doe No. 1
    (b)   County of Residence of First Listed Plaintiff            Fulton County                           County of Residence of First Listed Defendant              Broward County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
      Gregory S. Spizer, Esquire
      VSCP LAW; 2001 Market St, #3700
      Philadelphia, PA 19103 215-960-0000
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                ✖ 4   Diversity                                            Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5    ✖ 5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability ✖    360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                            Other                       550 Civil Rights                 Actions                                                                State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         28 U.S.C. 1332
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Assault
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                               DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
10/29/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
                            Case 2:21-cv-04771-CMR
                                               UNITED Document   1 Filed
                                                      STATES DISTRICT    10/29/21 Page 2 of 24
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                c/o VSCP LAW, 2001 Market St., #3700, Philadelphia, PA 19103
Address of Plaintiff: ______________________________________________________________________________________________
                              2800 Executive Way #6542, 2800 Executive Way, Miramar, FL 33025
Address of Defendant: ____________________________________________________________________________________________
                                                          Airplane as it was approaching Philadelphia
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      10/29/2021
DATE: __________________________________                                     0XVWVLJQKHUH
                                                             __________________________________________                                     82435
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                    ✔    6.                                                  Assault
                                                                                                       Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

             Gregory S. Spizer
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:


     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


      10/29/2021
DATE: __________________________________                                   6LJQKHUHLIDSSOLFDEOH
                                                             __________________________________________                                     82435
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                        CASE MANAGEMENT TRACK DESIGNATION FORM

M.B.                                                              :
                                                                  :
            v.                                                    :        NO. 2:21-cv-4771
                                                                  :
SPIRIT AIRLINES, INC AND JOHN DOE                                 :
NO. 1                                                             :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall
complete a Case Management Track Designation Form in all civil cases at the time of filing the complaint and serve
a copy on all defendants. (See §1:03 of the plan set forth on the reverse side of this form.) In the event that a
defendant does not agree with the plaintiff regarding said designation, that defendant shall, with its first appearance,
submit to the clerk of court and serve on the plaintiff and all other parties, a Case Management Track Designation
Form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)         Habeas Corpus - Cases brought under 28 U.S.C. §2241 through §2255.              (        )

(b)         Social Security - Cases requesting review of a decision of the Secretary
            of Health and Human Services denying plaintiff Social Security Benefits.        (        )

(c)         Arbitration - Cases required to be designated for arbitration under Local
            Civil Rule 53.2.                                                                (        )

(d)         Asbestos - Cases involving claims for personal injury or property damage
            from exposure to asbestos.                                                      (        )

(e)         Special Management - Cases that do not fall into tracks (a) through (d)
            that are commonly referred to as complex and that need special or intense
            management by the court. (See reverse side of this form for a detailed
            explanation of special management cases.)                                       (   X    )

(f)         Standard Management - Cases that do not fall into any one of the other
            tracks.                                                                         (        )



10/29/2021                    Gregory S. Spizer, Esquire                   Plaintiff
Date                          Attorney-at-Law                              Attorney for

215-960-0402                  215-960-0384                                 gspizer@vscplaw.com
Telephone                     Fax Number                                   E-Mail Address
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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

M.B.                                          :
c/o VSCP Law                                  :
2001 Market Street, Suite 3700                :
Philadelphia, PA 19103                        :
                                              :
                               Plaintiff      :
                                              :
       v.                                     :      No.
                                              :
SPIRIT AIRLINES, INC.                         :
2800 Executive Way #6542                      :
Miramar, FL 33025                             :      JURY TRIAL DEMANDED
                                              :
and                                           :
                                              :
John Doe No. 1                                :
                                              :
                               Defendants     :


                                COMPLAINT – CIVIL ACTION
       Plaintiff, M.B., by and through his attorneys, VSCP LAW, by way of Complaint against

Defendants, Spirit Airlines, Inc. and John Doe No. 1, and avers as follows:

                                           INTRODUCTION
       1.       For the last several years, sexual assaults aboard commercial airlines have

become more common and frequent. https://www.fbi.gov/news/stories/raising-awareness-about-

sexual-assault-aboard-aircraft-042618.

       2.       To combat this problem, in October 2018, President Trump signed the FAA

Reauthorization Act of 2018 (the FAA Act). The FAA Act requires the Secretary of

Transportation to establish the “National In-Flight Sexual Misconduct Task Force.” The Task

Force was to review current policies and make recommendations about best practices regarding
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incident of sexual assaults on airplanes.

https://www.transportation.gov/airconsumer/ACPAC/in-flight-sexual-misconduct-task-force

          3.       Airlines recognized that sexual assaults aboard their aircrafts were a serious

concern and problem. In fact, the airlines had a representative on the task force and airlines

modified the way they addressed sexual assaults on airplanes.

https://www.cntraveler.com/story/us-airlines-are-changing-the-way-they-talk-about-sexual-

assault

          4. Defendant, Spirit Airlines, also knew, before the incident described in detail below,

that sexual assaults occurred aboard their planes. In 2018, a man aboard a Spirit Airlines flight

from Las Vegas to Detroit was arrested after he sexually assaulted a fellow sleeping passenger

during the flight and was ultimately sentenced to nine years in prison. 1 An additional assault

occurred on a Spirit Airlines flight from Chicago to Myrtle Beach in 2019. 2

          5. Then in January 2020, a 22-year old woman was assaulted on a Spirit

Airlines flight from Atlanta to Detroit. The victim said that the Spirit staff mostly ignored her

allegations. https://www.nydailynews.com/news/national/ny-spirit-airlines-passenger-sexual-

assault-georgia-flight-20200122-hqu3w56st5hrlbrmek3n4fbgwy-story.html

          6. Despite these assaults and Spirit’s knowledge that it must protect its paying customers

from sexual assaults, Plaintiff, M.B., was assaulted on June 30, 2021 by one of Spirit’s own

flight attendants.




1
  https://www.npr.org/2018/12/13/676612105/man-who-sexually-assaulted-woman-on-plane-sentenced-to-nine-
years-in-prison
2
  https://www.wyff4.com/article/man-sexually-assaulted-22-year-old-woman-on-flight-to-myrtle-
beach/34657517#;

                                                     2
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                                                 THE PARTIES

         7. Plaintiff, M.B., is an adult individual and citizen and resident of the State of

Georgia, residing in Atlanta. Given the allegations set forth in this Complaint, Plaintiff’s name,

date of birth and address are not contained in this Complaint and so as to protect his privacy,

Plaintiff is referred to herein by the fictitious name of “M.B.” or “Plaintiff” 3.                   Plaintiff, M.B.,

incurred injuries and damages of a sensitive nature as a result of the intentional and negligent acts

and failures of Defendants as contained in this Complaint.

         8.       Defendant, Spirit Airlines, Inc. (hereinafter, “Defendant” or “Spirit Airlines”), is a

corporation duly incorporated in the State of Delaware with a principal place of business at 6542,

2800 Executive Way, Miramar, Florida 33025. Defendant, Spirit Airlines, is registered to do

business in the Commonwealth of Pennsylvania and regularly conducts business in the

Commonwealth of Pennsylvania on a regular, systematic, substantial and continuous basis and has

an authorized agent for service of process at c/o Corporation Service Company, 2595 Interstate

Drive, Suite 103, Harrisburg, PA 17110.

         9.       Defendant, John Doe No. 1, was, upon information and belief, the Spirit Airlines

flight attendant who assaulted Plaintiff as described herein. Plaintiff does not know the true

identity of Defendant, John Doe No. 1, but will obtain same through discovery and amend his

Complaint accordingly.

         10.      At all times relevant hereto, Defendant, Spirit Airlines, is an airline/air carrier

engaged in the business of providing air travel to customers throughout the United States, the

Caribbean and Latin America. Defendant employed various individuals to carry out its business



3
 Plaintiff’s counsel will identify M.B.’s identity and address to Defendant’s counsel. Plaintiff will also file a
motion to proceed using only his initials.

                                                           3
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functions including flight attendants such as John Doe No. 1. The claims asserted against

Defendant, Spirit Airlines, are for the intentional and negligent acts of its actual, apparent and

ostensible agents, servants and employees who were under its exclusive control including

Defendant, John Doe No. 1, a flight attendant who told Plaintiff that his name was “Alex” which

Plaintiff later learned was false. Defendant, Spirit Airlines, is liable for the intentional and

negligent acts or omissions of its authorized servants, employees and actual or ostensible agents

under theories of respondeat superior, master servant, agency and right of control.

       11.     Defendant, Spirit Airlines, is vicariously liable to Plaintiff, M.B., for injuries and

damages resulting from the intentional and negligent acts and omissions of persons whose conduct

was under its supervision, control or right of control.

       12.     Defendant, Spirit Airlines, is also directly liable to Plaintiff, M.B., for its negligent

hiring, supervision, training and failures to implement and/or enforce appropriate policies to ensure

that Plaintiff would not be assaulted as described herein.

       13.     Defendant, John Doe No. 1, is also directly liable to Plaintiff, M.B., for its

intentional and negligent acts of assault.

       14.     Because of Defendants’ conduct, Plaintiff, M.B., suffered and will continue to

suffer from physical bodily injuries, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment of life.

Plaintiff, M.B., will incur expenses for medical and psychological treatment, therapy and

counseling. Defendants are liable for these damages as described more fully below.

       15.     Defendant, Spirit Airlines, is directly and vicariously liable to Plaintiff, M.B., for

injuries sustained as a result of the intentional, negligence, gross negligence, outrageous conduct,

and reckless misconduct, as described further herein, by persons or entities whose conduct was



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under its control, or right to control which conduct directly and proximately caused all of Plaintiff’s

injuries.

                                  JURISDICTION AND VENUE

        16.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1332. At all relevant times, diversity of citizenship exists between Plaintiff and

Defendants.

        17.     Venue is proper in this district pursuant to 28 U.S.C. §1391 because a substantial

part of the events or omissions giving rise to the claims asserted in this action occurred in the

judicial district where this action is brought.

                                                  FACTS

        18.     On June 30, 2021, Plaintiff, M.B., was a passenger on Defendant’s, Spirit Airlines,

Flight No. 3031 from Myrtle Beach, South Carolina to Philadelphia, Pennsylvania. Plaintiff had

purchased his ticket for this flight a few weeks earlier.

        19.     Plaintiff was seated in Row 26 towards the rear of the airplane.

        20.     During the flight, Defendant, John Doe No. 1, a male flight attendant on Spirit

Airlines Flight No. 3031 approached Plaintiff and asked him if he wanted water. Plaintiff said

“yes, thank you” and offered his credit card for payment of the water. John Doe No. 1 waived

Plaintiff off, provided him with water and did not charge him for it.

        21.     John Doe No. 1 then soon returned, winked at Plaintiff and pushed mini bottles of

Jack Daniels into his chest. Plaintiff found this odd but did not think too much of it at the time.

        22.     John Doe No. 1 returned another time and again offered Plaintiff Jack Daniels.

        23.     A few minutes later, John Doe No. 1 walked by Plaintiff’s seat and placed a balled-

up napkin on his tabletop. Plaintiff opened the napkin which had a phone number on it.


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         24.   As the flight was then approaching Philadelphia, John Doe No. 1 called Plaintiff to

a private area at the back of the plane behind the bathrooms. Only John Doe No. 1 was there.

Plaintiff felt he had to adhere to John Doe No 1’s instructions, as flight attendants are in charge

while the plane is in the air, so Plaintiff complied with the request and went to the back of the

plane.

         25.   When Plaintiff went to the back of the plane where John Doe No. 1 had called for

him, John Doe No. 1 looked around and then, without warning, grabbed, groped and fondled

Plaintiff’s penis and private area. John Doe No. 1 then tried to unzip Plaintiff’s pants.

         26.   At this point, Plaintiff was shocked, embarrassed, humiliated and violated from the

sexual assault by John Doe No. 1. He backed away and went to the bathroom to compose himself

and think about what happened.

         27.   Plaintiff left the bathroom and returned to his seat. He wanted to report the assault

but realized that he did not even know the flight attendant’s name. At that point, he recalled that

he had a number from the napkin that John Doe No. 1 had given him, so he texted him to discover

it.

         28.   The below excerpts from the text exchange between Plaintiff and John Doe No. 1

then followed in which John Doe admits to the sexual assault upon Plaintiff:

               •       M.B.: “I didn’t get your name?”

               •       JOHN DOE NO. 1: “Hey this is my number”

               •       M.B.: “What’s your name so I can save your number”

               •       JOHN DOE NO. 1: “Alex. What are you doing after the flight”

               •       M.B.: “Just going to see family”

               •       JOHN DOE NO. 1:         “Ohh. Alex. What is your”

                                                 6
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                  •        M.B.: “When you asked me to come to the bathroom and you
                           touched my penis, that was very bold of you. Are you always that
                           straight forward? LOL. You stay in Philly?

                  •        JOHN DOE NO. 1:              “No way am sorry. Am very discreet.”

                  •        M.B: “Ohhhh I seeeee”

                  •        JOHN DOE NO. 1: “Am sorry men I didn’t mean to be
                           disrespectful”

                  •        M.B.: “It caught me off guard.” 4

         29.      The plane landed in Philadelphia, where Plaintiff deplaned and went to his mother’s

home.

         30.      As Plaintiff was so upset and distraught over the assault upon him, he shared with

his mother what had happened to him. After talking about it, Plaintiff returned to the airport and

reported the assault to the Philadelphia Airport Police.

         31.      The airport police indicated that as the assault occurred in the air, Plaintiff needed

to report the assault to the FBI, which Plaintiff did.

         32.       Prior to June 30, 2021, Defendant, Spirit Airlines, knew or should have known

about the sexual abuse being committed by its employee, representative and/or agent, John Doe

No. 1, and his propensities to sexual violence, physical violence and sexual deviance.

         33.      The violent and sexual assault of Plaintiff should and could have been prevented if

Spirit Airlines had employed and implemented reasonable and appropriate safety measures to

ensure the safety and security of their customers, including Plaintiff.



4
 Plaintiff has since learned that Defendant’s, John Doe No. 1, real name is not Alex. Plaintiff was lied to given the
assault that John Doe No. 1 committed upon him. Plaintiff will amend the Complaint upon learning John Doe No.
1’s true identity.

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       34.     The conduct encountered by and perpetrated upon Plaintiff as described herein was

wholly foreseeable.

       35.     John Doe No. 1 was provided access to Plaintiff as a result of Spirit Airlines’

carelessness, negligence, gross negligence and recklessness.

       36.     At all times pertinent hereto, Spirit Airlines knew or should have known of John

Doe No.1’s history and/or propensity and/or potential for sexually exploiting, assaulting and

abusing others.

       37.     Upon information and belief, Spirit Airlines knew or should have known that

inappropriate and/or sexually abusive behavior by John Doe No. 1 was occurring prior to his

assault and sexual abuse of Plaintiff.

       38.     Upon information and belief, Spirit Airlines failed to conduct a thorough

background check or reference check on John Doe No. 1. Had Spirit Airlines conducted such a

check, it would have discovered the concerns raised herein.

       39.     At all times pertinent hereto, Spirit Airlines is liable for the injuries and damages

suffered by the Plaintiff due to the actions/inactions of its employees while in the course and scope

of their employment with Defendant, Spirit Airlines.

       40.     All named Defendants are liable, jointly and severally, for the injuries and damages

suffered by Plaintiff, M.B.

       41.     At all relevant times, Plaintiff was owed the highest duty of care.

       42.     At all times relevant hereto, Plaintiff and Defendant, Spirit Airlines, shared a

special relationship which established a duty to protect Plaintiff from intentional criminal acts of

others, including John Doe No. 1 pursuant to Restatement (Second) of Torts §314A.

       43.     At all times relevant hereto, Defendant, Spirit Airlines, is subject to liability



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pursuant to the Restatement (Second) of Torts § 323.

        44.     At all times relevant hereto, Defendants violated §314A and §323 of the

Restatement (Second) of Torts as described more fully herein.

        45.     At all relevant times hereto, Defendant, Spirit Airlines, was negligent as a result of

its failure to exercise reasonable care to protect their paying customers from being harmed on its

aircraft.

        46.     At all relevant times hereto, Defendant, Spirit Airlines, was negligent as a result of

its failure to exercise reasonable care to discover if its customers were exposed to dangerous and

harmful conditions on its aircraft.

        47.     At all relevant times hereto, Plaintiff had a reasonable expectation of safety and

security to be provided to him by Defendant, Spirit Airlines.

        48.     At all relevant times hereto, the negligence, gross negligence, careless and reckless

conduct of Defendant, Spirit Airlines, merged with the negligent, careless, reckless and intentional

conduct of John Doe No. 1 to cause a single harm to Plaintiff.

        49.     But for the acts and omissions of Defendant, Spirit Airlines, and its agents,

including its flight attendants, Plaintiff would not have been sexually assaulted by John Doe No.

1.

        50.     As a direct and proximate result of the negligence, carelessness, recklessness,

willful and/or intentional conduct of Defendant, Spirit Airlines, as set forth herein, Plaintiff, M.B.,

was caused to suffer severe and permanent damages, including, but not limited to:

                (a)    Indecent assault, pursuant to 42 Pa.C.S. §3126, Title 18;
                (b)    Aggravated indecent assault, pursuant to 42 Pa.C.S. §3125, Title 18;
                (c)    Sexual assault, pursuant to 42 Pa.C.S. §3124.1, Title 18;
                (d)    Unconsented sexual contact and assault;
                (e)    Permanent emotional trauma/distress;
                (f)    Past and future mental anguish;

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                (g)       Past and future humiliation;
                (h)       Past and future embarrassment;
                (i)       Past and future loss of life’s pleasures;
                (j)       Past and future pain and suffering;
                (k)       Past and future emotional distress;
                (l)       Sexual dysfunction;
                (m)       Insomnia;
                (n)       Depression and anxiety;
                (o)       Post traumatic stress disorder;
                (p)       Pain and suffering;
                (q)       Past and future anxiety;
                (r)       Need for psychological and/or psychiatric care;
                (s)       Loss of earning capacity; and
                (t)       Past and future expenses for medical and psychological treatment, therapy
                          and counseling.


        51.     The injuries, damages and losses sustained by Plaintiff, M.B., were in no way

caused by the Plaintiff, but were caused solely by the conduct of the Defendants, as set forth above

and herein, and in no way was caused or contributed to by the Plaintiff, M.B.

        52.     The negligence, gross negligence, recklessness and intentional conduct of all

Defendants, jointly and severally, directly and proximately caused Plaintiff’s injuries.

                                     COUNT I - NEGLIGENCE

                                Plaintiff v. Defendant, Spirit Airlines

        53.     The averments of the previous paragraphs are incorporated by reference as though

fully set forth herein.

        54.     Defendant, Spirit Airlines, at all times pertinent hereto, had a duty to exercise

reasonable care so to control the conduct of third persons, such as John Doe No. 1, as to prevent

him from intentionally harming the Plaintiff or creating an unreasonable risk of harm to the

Plaintiff.

        55.     At all times relevant hereto, Defendant, Spirit Airlines, knew or should have known

that it had the ability to control the conduct of Defendant, John Doe No. 1.

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       56.     At all times pertinent hereto, Defendant, Spirit Airlines, had a duty to take

reasonable action to protect the Plaintiff against unreasonable risk of physical harm such as that

perpetrated by Defendant, John Doe No. 1.

       57.     The negligence, gross negligence, carelessness and recklessness of Defendant,

Spirit Airlines included, but was not limited to:

               (a) failing to monitor John Doe No. 1’s interactions with customers and specifically
                   with Plaintiff;
               (b) failing to adequately supervise John Doe No. 1;
               (c) failing to take proper security measures;
               (d) failing to provide for the safety and protection of Plaintiff;
               (e) failing to adequately train employees to not engage in sexual assault and abuse;
               (f) failing to take reasonable safety measures to ensure the safety and well-being
                   of customers such as Plaintiff, M.B.;
               (g) failing to take reasonable measures to protect customers such as Plaintiff, M.B.,
                   against violent crimes, sexual assault and abuse and/or harm from its
                   employees;
               (h) failing to implement policies to prevent the sexual abuse and sexual assault of
                   customers;
               (i) failing to enforce policies which were enacted to prevent sexual abuse and
                   sexual assault of customers;
               (j) failing to adequately control interaction between its flight attendants and
                   customers;
               (k) failing to adequately have policies in place to perform appropriate background
                   and criminal activity checks on its employees;
               (l) failing to perform an adequate background and criminal activity check on John
                   Doe No. 1;
               (m) failing to exercise reasonable care in the appointment and hiring of its
                   employees; and
               (n) other acts or omissions constituting negligence, gross negligence, recklessness,
                   and carelessness as may be ascertained through discovery and may be
                   demonstrated by the evidence at the trial of this case


       58.         As a direct and proximate result of the negligence, gross negligence,

carelessness and recklessness, of Defendant, Spirit Airlines, acting individually and by and through

its agents, servants and/or employees, Plaintiff, M.B., has suffered pain and suffering, humiliation,




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embarrassment, mental anguish, and will continue to do so for an infinite amount of time into the

future.

          59.       As a direct and proximate result of the negligence, gross negligence,

carelessness and recklessness of Defendant, Spirit Airlines, acting individually and by and through

its agents, servants and/or employees, Plaintiff, M.B., has been deprived of the past and future

ordinary pleasures of life and will continue to suffer for an infinite amount of time into the future,

all to his great detriment and loss.

          WHEREFORE, Plaintiff, M.B., demands judgment against Defendant, Spirit Airlines, for

compensatory and punitive damages, exclusive of pre-judgment interest, costs, and post-judgment

interest in excess of the local arbitration limits.

                         COUNT II – NEGLIGENCE – VICARIOUS LIABILITY

                                       Plaintiff v. Defendant, Spirit Airlines

          60.      The averments of the previous paragraphs are incorporated by reference as

though fully set forth herein.

          61.   Plaintiff, M.B., was physically attacked and sexually assaulted by Defendant, John

Doe No. 1, who was at all times relevant hereto, an employee and/or agent and/or ostensible agent

of Defendant, Spirit Airlines.

          62.   At all times pertinent hereto, John Doe No. 1 was acting as the sole or joint agents,

servants and/or employees of Defendant, Spirit Airlines.

          63.   At times material hereto, John Doe No. 1 was acting in the course and scope of his

employment with Defendant, Spirit Airlines.

          64.   Defendant, Spirit Airlines, had a duty and obligation, to a paying customer who

was flying on its airline, to exercise reasonable care in the appointment and hiring of its employees.

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          65.   Defendant, Spirit Airlines, is vicariously liable for the actions of its employees,

agents, ostensible agents and/or servants, including Defendant, John Doe No. 1, the flight attendant

described herein, in that the actions that were perpetuated upon Plaintiff, M.B., were negligent,

grossly negligent, reckless, and careless in the following particular respects:

                (a)    attacking Plaintiff as set forth above and/or committing assault and battery
                       pursuant to 18 Pa.C.S.A. §2701(a)(1);
                (b)    committing harassment pursuant to 18 Pa.C.S.A. §2709(a);
                (c)    committing indecent assault pursuant to 18 Pa.C.S.A. §3126(a);
                (d)    committing sexual abuse;
                (e)    failing to take reasonable safety measures to ensure the safety and well-
                       being of customers such as Plaintiff, M.B.;
                (f)    failing to take reasonable measures to protect customers such as Plaintiff,
                       M.B., against violent crimes, sexual assault and abuse and/or harm from its
                       employees;
                (g)    negligent hiring and/or selection and/or retention of agents, employees,
                       managers and/or contractors; and
                (h)    other acts or omissions constituting negligence, gross negligence,
                       recklessness, and carelessness as may be ascertained through discovery and
                       may be demonstrated by the evidence at the trial of this case.

          66.   As a direct and proximate result of the negligence, gross negligence, carelessness,

and reckless conduct of Defendant, Spirit Airlines, acting individually and by and through its

agents, servants and/or employees, Plaintiff, M.B., has suffered pain and suffering, humiliation,

embarrassment, mental anguish, and will continue to do so for an infinite amount of time into the

future.

          67.   As a direct and proximate result of the negligence, gross negligence, carelessness,

and reckless conduct of Defendant, Spirit Airlines, acting individually and by and through its

agents, servants and/or employees, Plaintiff, M.B., has been deprived of the past and future

ordinary pleasures of life and will continue to suffer for an infinite amount of time into the future,

all to his great detriment and loss.



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        WHEREFORE, Plaintiff, M.B., demands judgment against Defendant, Spirit Airlines, for

compensatory and punitive damages, exclusive of pre-judgment interest, costs, and post-judgment

interest in excess of the local arbitration limits.

        COUNT III- NEGLIGENCE AND GROSS NEGLIGENCE– HIRING AND
                              SUPERVISION

                               Plaintiff v. Defendant, Spirit Airlines

        68.     The averments of the previous paragraphs are incorporated by reference as though

fully set forth herein.

        69.     Defendant, Spirit Airlines, had a duty and obligation to Plaintiff, M.B., as a

customer on its airline, to exercise reasonable care in the appointment and re-appointment of

members of employees, servants and/or agents.

        70.     Defendant also had a duty and obligation to supervise and monitor the actions and

behaviors of its flight attendants.

        71.     It is believed and, therefore, averred that Defendant, Spirit Airlines, was negligent,

grossly negligent and reckless in failing to properly and truly determine the qualifications and

fitness of John Doe No. 1 prior to hiring him and permitting him to remain as a member of its staff

of flight attendants. This is especially so considering the text exchange with Plaintiff, M.B., that

“Am very discreet” acknowledging that this outrageous behavior had happened in the past.

        72.     It is believed and, therefore, averred that Defendant, Spirit Airlines, was negligent,

grossly negligent and reckless in failing to supervise and monitor the activities on Flight No. 3031

from Myrtle Beach, South Carolina to Philadelphia, Pennsylvania and, in particular, the actions of

John Doe No. 1, the flight attendant.

        73.     Defendant, Spirit Airlines, was negligent, grossly negligent, careless, and reckless

in the following particular respects:

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                (a)     persistently and repeatedly failing or refusing to supervise staff and/or other
                        employees, and/or having a lack of oversight;
                (b)     failing to recognize that its employee was sexually abusing and/or
                        exploiting customers like Plaintiff, M.B.;
                (c)     negligently, grossly negligently, carelessly and/or recklessly failing to
                        observe and supervise John Doe No. 1’s inappropriate sexual interaction
                        with Plaintiff, M.B.;
                (d)     negligently, grossly negligently, carelessly and/or recklessly failing to
                        implement and enforce policies and procedures that allowed the sexual
                        misconduct, sexual abuse and sexual assault of Plaintiff, M.B., by John Doe
                        No. 1 to occur on Defendant’s Flight No. 3031;
                (e)     failure to use due care under the circumstances;
                (f)     negligent supervision as may be proven from facts now exclusively in the
                        possession of Defendant, Spirit Airlines;
                (g)     failing to conduct a thorough background check of John Doe No. 1;
                (h)     failing to contact appropriate references for John Doe No. 1;
                (i)     failing to use due care in the selection of John Doe No. 1 as a flight attendant
                        for Defendant, Spirit Airlines; and
                (j)     failing to use due care in the retention of Spirit Airlines as a flight attendant
                        who was responsible and had authoritative control over Defendant’s, Spirit
                        Airlines, passengers.

        74.     The harms, injuries, losses, and damages suffered by Plaintiff, M.B., and that he

will continue to suffer from, were directly and proximately caused by the negligence, gross

negligence recklessness, and careless conduct of Defendant, Spirit Airlines, individually and by

and through its agents, servants, and/or employees, consisted of all of the conduct set forth herein.

        75.     As a direct and proximate result of negligence, gross negligence, recklessness, and

careless behavior of Defendant, Spirit Airlines, individually, and by and through its agents,

servants, and/or employees’ negligence, gross negligence, recklessness and careless conduct as set

forth in this Complaint, Plaintiff, M.B., suffered the injuries described in paragraph 50 above, and

incorporated herein, as if fully set forth.

        WHEREFORE, Plaintiff, M.B., demands judgment against Defendant, Spirit Airlines, for

compensatory and punitive damages, exclusive of pre-judgment interest, costs, and post-judgment

interest in excess of the local arbitration limits.



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          COUNT IV-NEGLIGENT PERFORMANCE OF UNDERTAKING TO RENDER
                                SERVICES
                                   Plaintiff v. Defendant, Spirit Airlines

          76.   The averments of the previous paragraphs are incorporated by reference as though

fully set forth herein.

          77.    Defendant, Spirit Airlines, undertook, for consideration, the provision of

commercial airlines services to the Plaintiff pursuant to Restatement (Second) of Torts §323.

          78.    Defendant, Spirit Airlines, should have recognized that Plaintiff needed to be

protected from John Doe No. 1.

          79.    Plaintiff suffered harm as a result of Defendant’s, Spirit Airlines, failure to

exercise reasonable care to perform its undertaking.

          80.    Defendant’s, Spirit Airlines, failure to exercise such care increased the risk of

harm to the Plaintiff and/or the Plaintiff was harmed because of his reliance upon Defendant’s,

Spirit Airlines, undertaking to provide services to him.

          81.   As a direct and proximate result of the negligence, gross negligence, carelessness,

and recklessness of Defendant, Spirit Airlines, acting individually and by and through its agents,

servants and/or employees, Plaintiff, M.B., has suffered pain and suffering, humiliation,

embarrassment, mental anguish, and will continue to do so for an infinite amount of time into the

future.

          82.   As a direct and proximate result of the negligence, gross negligence, carelessness,


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and recklessness, of Defendant, Spirit Airlines, acting individually and by and through its agents,

servants and/or employees, Plaintiff, M.B., has been deprived of the past and future ordinary

pleasures of life and will continue to suffer for an infinite amount of time into the future, all to his

great detriment and loss.

                WHEREFORE, Plaintiff, M.B., demands judgment against Defendant, Spirit

Airlines, for compensatory and punitive damages, exclusive of pre-judgment interest, costs, and

post-judgment interest in excess of the local arbitration limits.

                                        COUNT V- ASSAULT

                                Plaintiff v. Defendant, John Doe No. 1


        83.     The averments of the previous paragraphs are incorporated by reference as though

fully set forth herein.

        84.     Defendant, John Doe No. 1, intended to cause a harmful or offensive contact with

the body of Plaintiff, M.B., and/or John Doe No. 1 intended to put Plaintiff, M.B., in reasonable

and immediate fear of a harmful or offensive contact with his body.

        85.     Defendant, John Doe No. 1, intended to put Plaintiff, M.B., in reasonable and

immediate fear of a harmful or offensive contact with his body; and Plaintiff, M.B., as a result of

the acts of John Doe No. 1 was put in reasonable and immediate fear of such contact.

        86.     The actions of John Doe No. 1, during the course and scope of his employment,

directly and/or indirectly resulted in harmful or offensive contact with Plaintiff’s body, including

but not limited to:

                (a)       indecent assault, pursuant to 42 Pa.C.S. §3126, Title 18;
                (b)       aggravated indecent assault, pursuant to 42 Pa.C.S. §3125, Title 18;
                (c)       sexual assault, pursuant to 42 Pa.C.S. §3124.1, Title 18;
                (d)       simple assault, pursuant to 18 Pa.C.S.A. §2701;


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       87.     The contact with Plaintiff’s body was offensive such that it would offend a

reasonable person’s personal sense of dignity.

       88.     The unlawful actions of John Doe No. 1 took place within the authorized time and

space limits at the regular workplace on the premises owned, operated and/or maintained by

Defendant, Spirit Airlines, while he was an employee of Defendant, Spirit Airlines, while actively

working on his shift as a flight attendant and within the scope of his employment.

       89.     John Doe No. 1 was doing work assigned by, and under the direction or control of,

his employer, Defendant, Spirit Airlines, when he sexually assaulted Plaintiff, M.B..

       90.     Defendant, Spirit Airlines, directed and controlled its employees’, including John

Doe No. 1, contact with Defendant’s customers, including Plaintiff, M.B., through its policies and

procedures.

       91.     When John Doe No. 1 explicitly decided to spend additional time with Plaintiff,

John Doe, that he abused, it was actuated, at least in part, by a purpose to serve his employer,

Defendant.

       92.     John Doe No. 1 used his status of authority and power, granted to him

by way of his employment with Defendant, Spirit Airlines, which allowed him to force himself

upon Plaintiff, M.B..

       93.     As a direct and proximate result of the negligence, gross negligence, willfulness,

reckless, intentional and outrageous behavior of Defendant, John Doe No. 1, Plaintiff suffered the

injuries described in paragraph 50 above, and incorporated herein, as if fully set forth.

       94.     As a direct and proximate result of negligence, gross negligence, willful, wanton,

intentional and outrageous conduct of Defendant, John Doe No. 1, Plaintiff, M.B., has suffered




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pain and suffering, humiliation, embarrassment, mental anguish, and will continue to do so for an

infinite amount of time into the future.

       95.    As a direct and proximate result of the negligence, gross negligence, carelessness,

recklessness, intentional, wanton and/or willful conduct of Defendant, John Doe No. 1, Plaintiff,

M.B., has been deprived of the past and future ordinary pleasures of life and will continue to suffer

for an infinite amount of time into the future, all to his great detriment and loss.

       WHEREFORE, Plaintiff, M.B., demands judgment against Defendant, John Doe No. 1,

for compensatory and punitive damages, exclusive of pre-judgment interest, costs, and post-

judgment interest in excess of the local arbitration limits.

                                       COUNT VI- BATTERY

                              Plaintiff v. Defendant, John Doe No. 1

       96.     The averments of the previous paragraphs above are incorporated herein by

reference as though fully set forth.

       97.     John Doe No. 1 intended to cause a harmful or offensive contact with the body of

the Plaintiff, M.B., and/or intended to put Plaintiff, M.B., in reasonable and immediate fear of a

harmful or offensive contact with his body; and the actions of John Doe No. 1 directly or indirectly

resulted in a harmful or offensive contact with Plaintiff’s body.

       98.     The actions of John Doe No. 1 during the course and scope of his employment,

directly and/or indirectly resulted in harmful or offensive contact with Plaintiff’s body, including

but not limited to:

               (a)     indecent assault, pursuant to 42 Pa.C.S. §3126, Title 18;
               (b)     aggravated indecent assault, pursuant to 42 Pa.C.S. §3125, Title 18;
               (c)     sexual assault, pursuant to 42 Pa.C.S. §3124.1, Title 18; and
               (d)     simple assault, pursuant to 18 Pa.C.S.A. §2701.

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          99.    The contact with Plaintiff’s body was offensive such that it would offend a

reasonable person’s personal sense of dignity.

          100.   The unlawful actions of John Doe No. 1 took place within the authorized time and

space limits at the regular workplace on an airline owned, operated and/or maintained by

Defendant, Spirit Airlines, while he was an employee of Defendant, Spirit Airlines, actively

working on his shift within the course and scope of his employment.

          101.   John Doe No. 1 was doing work assigned by, and under the direction or control of,

his employer, Defendant, Spirit Airlines, when he sexually assaulted Plaintiff, M.B..

          102.   John Doe No. 1 used his status of authority and power, granted to him by way of

his employment with Defendant, Spirit Airlines, to force customers like Plaintiff, M.B., into non-

consensual sexual acts.

          103.   As a direct and proximate result of the negligence, carelessness, recklessness,

willful, intentional and tortious conduct of Defendant, John Doe No. 1, Plaintiff was severely and

permanently injured.

          104.   As a direct and proximate result of negligence, gross negligence, willfulness,

reckless, intentional and outrageous behavior of Defendant, Plaintiff, M.B., suffered the injuries

described in paragraph 50 above, and incorporated herein, as if fully set forth.

          105.   As a direct and proximate result of negligence, gross negligence, willful, wanton

and outrageous conduct of Defendant, Plaintiff, M.B., has suffered pain and suffering, humiliation,

embarrassment, mental anguish, and will continue to do so for an infinite amount of time into the

future.

          106.   As a direct and proximate result of the negligence, gross negligence, carelessness,




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recklessness, wanton and/or willful conduct of Defendant, Plaintiff, M.B., has been deprived of

the past and future ordinary pleasures of life and will continue to suffer for an infinite amount of

time into the future, all to his great detriment and loss.

        WHEREFORE, Plaintiff, M.B., demands judgment against Defendant, John Doe No. 1,

for compensatory and punitive damages, exclusive of pre-judgment interest, costs, and post-

judgment interest in excess of the local arbitration limits.




                                                _____________________
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